PLYMOUTH COUNTY SHERIFF’S DEPARTMENT

22 COTTAGE ST, POST OFFICE BOX 1663, BROCKTON MA 02303
(508) 580-2110 Fax (508) 586-8649

DILIGENT SEARCH REPORT
August 7, 2020

RE: Carl Alexander Cohen vs. Alex Muchati
Docket 219-2020-CV-00221

Your file # Defendant address:

Republic Surgical Medworx, Inc.
800 Hingham Street

Rockland, MA 02370

RESEARCi) WORK PERFORMED:

INTERVIEW: LEXISNEXIS: POSTAL CHECK: SO WORLD WIDE INFO:
RMV LICENSE CHECK: =~ SECRETARY OF STATE: OTHER:
SUMMARY OF RESEARCH:

____ DEFENDANT MOVED.

_.....NO FORWARD ON FILE AT THIS TIME AT POST OFFICE.

ae NO CHANGE WITH MASS RMV RECORDS.

_._.NO NEW INFORMATION OBTAINED FROM RESEARCH.
_DEFENDANT CANNOT BE LOCATED AT THIS TIME.

ce DEFENDANT HAS MOVED OUT OF COURT DISTRICT.
_DEFENDANT HAS MOVED OUT OF PLYMOUTH COUNTY.

a. DEFENDANT IS DECEASED.

RETURNING SERVICE AS PER YOUR REQUEST.

____DEFENDANT HAS MOVED, NEW ADDRESS LOCATED. SEE BELOW.

____.NEW ADDRESS OBTAINED BY:

OTHER Comments: 7 — .
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If you have any questions, please don’t hesitate to contact me.

PLYMOUTH COUNTY SHERIFF’S DEPARTMENT

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Plymouth, SS

By virtue of this writ, | have made diligent search for the within
named, Alex Muchati and for his/her/its last and usual place of abode,
and for his tenant, agent, or attorney, but could not find him/her/it within
this county; | therefore return this writ without service.

David Coache (Office), Deputy Sheriff

